                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION                                 21 NOV    22         jQ:   143



UNITED STATES OF AMERICA                            §
                                                    §
V.                                                  §                  No. A-06-CR-206(1)-LY
                                                    §
TODD RICKS                                          §
#83035-180                                          §




         Upon motion of the defendant for a reduction in sentence pursuant to 18 U.S.C.

§   3582(c)(1)(A), and after considering the applicable factors set forth in 18 U.S.C.    §   3553(a) as

applicable here and the applicable policy statements issued by the Sentencing Commission to the

extent they are consistent with a sentencing reduction, Defendant's motion is denied.

         Defendant's request for an early release is based on COVID- 19 and Defendant's

rehabilitation. Although Defendant suffers from several medical conditions, he has been

vaccinated against COVID- 19. Defendant appears to have benefitted from rehabilitative programs

offered in prison and is encouraged to continue his participation. However, after review of

Defendant's motion, the court finds no compelling or extraordinary reasons for a sentence

reduction in this case.

         In addition, Defendant fails to demonstrate that he is not a danger to the safety of any other

person or the community or the      §   3553(a) factors support an early release. After a july trial,

Defendant was convicted of being a felon in possession of a firearm (count 1), possessing a firearm

in furtherance of a drug trafficking crime (count 2), and aiding and abetting the maintenance of a

drug-involved premises (count 3). The court sentenced Defendant to 240 months on counts one

and three and 60 months on count two.            The court ordered the 60-month sentence to run
consecutively to the 240-month sentences for a total sentence of 300 months. Defendant still has

approximately six years of his sentence to serve.

       Defendant is considered a career offender under federal law. His presentence investigation

report lists seven adult criminal convictions beginning at age 22. Out of the seven convictions,

Defendant was revoked at least four times for failing to follow the terms and conditions of his

release. Moreover, Defendant received a medium score under Prisoner Assessment Tool Targeting

Estimated Risk and Need (PATTERN). This puts him in the group of inmates with the second-

highest likelihood of recidivism.

       The nature and circumstances of Defendant's offense and his history and characteristics do

not justify a reduced sentence. Reducing Defendant's sentence will not adequately reflect the

seriousness of his offense, promote respect for the law, provide just punishment for the offense,

adequately deter criminal conduct, or protect the public from further crimes.         No sentence

reduction is needed to provide Defendant with medical care.   See 18 U.S.C. §   3553(a).




IT IS SO ORDERED.




DATE                                                    iATJST                        JUDGE




                                                    2
